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                                 U.S. LEGAL SUPPORT INC.
                                16825 NORTHCHASE DRIVE
                                         SUITE 800
                                  HOUSTON, TEXAS 77060
                           PHONE: 713-653-7150; FAX: 281-673-6292
                              swproduction@uslegalsupport.com
                                                  October 1, 2021


Attn:   Medical Records

Rajiv R. Sinha, M.D.
637 East Hidalgo Avenue
Raymondville, TX 78580


Records requested: Any and all Medical Record and Radiology Records including patient history forms,
patient questionnaires, insurance claim forms, lab and radiology reports, emergency room records,
psychiatric or counseling records, copies of prescription or pharmacy records, treatment records, physical
therapy records, chiropractic records, occupational therapy records, records of telephone conversations,
copies of messages, handwritten notes, test results, photographs, all correspondence to patient, all
correspondence to and from treating facilities and caregivers, all correspondence to and from attorneys,
referrals to or from other physicians and clinic notes and/or documents contained in your files pertaining
to Lee Roy Hernandez; D.O.B. 02/03/1971; SSN: xxx-xx-4805

Records pertaining to: Lee Roy Hernandez
                       DOB: 02/03/1971; SSN: xxx-xx-4805

Dear Sir/Madam:

US Legal Support is a records retrieval service company that provides litigation support to the legal and
insurance industry. Our attorney/client has requested that we locate records specified in the enclosed legal
documents, within 14 days.

Please provide all requested documentation and complete each document accurately and completely. If the cost
of providing the records exceeds $50.00, please contact us BEFORE copying. Please check that all copies are
legible, and that no information is omitted. Texas law requires a physician/hospital/medical clinic to furnish a
patient's records within 30 days after a request is received (Tex. Rev. Civ. Stat. Ann., Article 4495b, §5.08(k)).
Enclosed is a SUBPOENA WITH A DEPOSITION BY WRITTEN QUESTIONS AND/OR AFFIDAVIT.
Please assist us by:
         1. Answering ALL questions.
        2. SIGN the deposition by written questions and/or affidavit.
        3. Have the signatures NOTARIZED.
        4. Return all ORIGINAL completed documents with a legible copy of the records to:


                                        U.S. LEGAL SUPPORT, INC.
                                           RECORDS DIVISION
                                  16825 NORTHCHASE DRIVE, SUITE 800
                                         HOUSTON, TEXAS 77060

                                                       Exhibit A
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IF AFTER A THOROUGH SEARCH YOU FIND NO RECORDS OF THIS PERSON, PLEASE MAKE
THIS STATEMENT ON ALL DOCUMENTS, SIGN, AND HAVE THEM NOTARIZED.


                 ****Please reference the following number when calling: 155638.008 ****

Thank you very much for your cooperation and assistance.


                                              Best regards,

                                              US Legal Support




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                                                    10/18/2021 at 10:00 am




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objections or to Permit Inspection of Premi in a Civil Actionses (Page 2)               155638.008

Civil Action No. 3:21-CV-0108-D


                                                                                   PROOF OF SERVICE
                                           (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

         I received this is subpoena for (name of individual and title, if any) _______________________
on (date) ________________________

                   I served the subpoena by delivering a copy to the named person as follows: ________________________ on
              (date)______________________; or


                   I returned the subpoena unexecuted because __________________________________________________________
              ________________________________________________________________________________________________



              Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
              witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
              $___________________________.

My fees are $ ____________________ for travel and $ _______________ for services, for a total of $ _______________.


              I declare under penalty of perjury that this information is true.

Date: ____________                                                                    _________________________________________________________
                                                                                                                              Server’s signature


                                                                                      _________________________________________________________
                                                                                                                          Printed name and title



                                                                                      _______________________________________________________________________
                                                                                                                Server’s address



Additional information regarding attempted service, etc.:




                                                                                                   Exhibit A
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civl Action (Page 3)



                                          Federal Rule of Civil Procedure 45 (c), (d), (e), and (g), (Effective 12/1/13)

  (c) Place of Compliance.
                                                                                                           (ii) disclosing an unretained expert's opinion or information that does
    (1) For a Trial, Hearing, or Deposition. A subpoena may command a                                   not describe specific occurrences in dispute and results from the expert's
  person to attend a trial, hearing, or deposition only as follows:                                     study that was not requested by a party.
    (A) within 100 miles of where the person resides, is employed, or regularly                           (C) Specifying Conditions as an Alternative. In the circumstances
  transacts business in person; or                                                                      described in Rule45(d)(3)(B), the court may, instead of quashing or
    (B) within the state where the person resides, is employed, or regularly                            modifying a subpoena, order appearance or production under specified
  transacts business in person, if the person                                                           conditions if the serving party:
       (i) is a party or party's officer; or                                                                 (i) shows a substantial need for the testimony or material that cannot be
       (ii) is commanded to attend a trial and would not incur substantial                              otherwise met without undue hardship; and
  expense.                                                                                                   (ii) ensures that the subpoenaed person will be reasonably
                                                                                                        compensated.
    (2) For Other Discovery. A subpoena may command:
      (A) production of documents, electronically stored information, or                                (e) Duties in Responding to a Subpoena.
  tangible things at ta place within 100 miles of where the person resides, is
  employed, or regularly transacts business in person; and                                              (1) Producing Documents or Electronically Stored Information.
      (B) inspection of premises at the premises to be inspected.                                       These procedures apply to producing documents or electronically stored
                                                                                                        information:
  (d) Protecting a Person Subject to a Subpoena; Enforcement.                                              (A) Documents. A person responding to a subpoena to produce
                                                                                                        documents must produce them as they are kept in the ordinary course of
   (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney                                 business or must organize and label them to correspond to the categories in
  responsible for issuing and serving a subpoena must take reasonable steps                             the demand.
  to avoid imposing undue burden or expense on a person subject to the                                     (B) Form for Producing Electronically Stored Information Not
  subpoena. The issuing court must enforce this duty and impose an                                      Specified. If a subpoena does not specify a form for producing
  appropriate sanction — which may include lost earnings and reasonable                                 electronically stored information, the person responding must produce it in
  attorney's fees — on a party or attorney who fails to comply.                                         a form or forms in which it is ordinarily maintained or in a reasonably
                                                                                                        usable form or forms.
   (2) Command to Produce Materials or Permit Inspection.                                                  (C) Electronically Stored Information Produced in Only One Form. The
    (A) Appearance Not Required. A person commanded to produce                                          person responding need not produce the same electronically stored
  documents, electronically stored information, or tangible things, or to                               information in more than one form.
  permit the inspection of premises, need not appear in person at the place of                             (D) Inaccessible Electronically Stored Information. The person
  production or inspection unless also commanded to appear for a deposition,                            responding need not provide discovery of electronically stored information
  hearing, or trial.                                                                                    from sources that the person identifies as not reasonably accessible because
    (B) Objections. A person commanded to produce documents or tangible                                 of undue burden or cost. On motion to compel discovery or for a protective
  things or to permit inspection may serve on the party or attorney designated                          order, the person responding must show that the information is not
  in the subpoena a written objection to inspecting, copying, testing or                                reasonably accessible because of undue burden or cost. If that showing is
  sampling any or all of the materials or to inspecting the premises — or to                            made, the court may none the less order discovery from such sources if the
  producing electronically stored information in the form or forms requested.                           requesting party shows good cause, considering the limitations of Rule
  The objection must be served before the earlier of the time specified for                             26(b)(2)(C). The court may specify conditions for the discovery.
  compliance or 14 days after the subpoena is served. If an objection is made,
  the following rules apply:                                                                               (2) Claiming Privilege or Protection.
       (i) At any time, on notice to the commanded person, the serving party                               (A) Information Withheld. A person withholding subpoenaed information
  may move the issuing court for an order compelling production or                                      under a claim that it is privileged or subject to protection as
  inspection.                                                                                           trial-preparation material must:
       (ii) These acts may be required only as directed in the order, and the                                 (i) expressly make the claim; and
  order must protect a person who is neither a party nor a party's officer from                               (ii) describe the nature of the withheld documents, communications, or
  significant expense resulting from compliance.                                                        tangible things in a manner that, without revealing information itself
                                                                                                        privileged or protected, will enable the parties to assess the claim.
    (3) Quashing or Modifying a Subpoena.                                                               B) Information Produced. If information produced in response to a
     (A) When Required. On timely motion, the court for the district where                              subpoena is subject to a claim of privilege or of protection as
  compliance is required must quash or modify a subpoena that:                                          trial-preparation material, the person making the claim may notify any party
        (i) fails to allow a reasonable time to comply;                                                 that received the information of the claim and the basis for it. After being
        (ii) requires a person to comply behond the geographical limits                                 notified, a party must promptly return, sequester, or destroy the specified
  specified in Rule 45(c) here that person resides, is employed, or regularly                           information and any copies it has; must not use or disclose the information
  transacts business in person — except that, subject to Rule 45(c)(3)(B)(iii),                         until the claim is resolved; must take reasonable steps to retrieve the
  the person may be commanded to attend a trial by traveling from any such                              information if the party disclosed it before being notified; and may
  place within the state wherial for the district where compliance is required                          promptly present the information to the court under seal for a determination
  may, on motion, quires disclosure of privileged or other protected matter, if                         of the claim. The person who produced the information must preserve the
  no exception or waiver applies; or                                                                    information until the claim is resolved.
        (iv) subjects a person to undue burden.
     (B) When Permitted. To protect a person subject to or affected by a                                 (g) Contempt.
  subpoena, the issuing court may, on motion, quash or modify the subpoena                              The court for the district where compliance is required-and also, after a
  if it requires:                                                                                       motion is transferred, the issing court-may hold in contempt a person who,
        (i) disclosing a trade secret or other confidential research, development,                      having been served, fails without adequate excuse to obey the subpoena or
  or commercial information; or                                                                         an order related to it.




                                                For access to subpoena materials, see Fed. R. Civ. R. 45(a) Committee Note (2013).

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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

                                                            §
Lee Roy Hernandez                                           §
                                                            §
vs.                                                         §     Civil Action No. 3:21-CV-0108-D
                                                            §
Groendyke Transport, Inc.                                   §
                                                            §


                                  NOTICE OF INTENTION
                        TO TAKE DEPOSITION BY WRITTEN QUESTIONS
To Plaintiff(s) by and through their attorney(s) of record: Javier Villarreal (Law Offices of Javier Villarreal,
P.L.L.C.) and Leslie Lockhart (Law Office of Javier Villarreal, PLLC). To other party/parties by and through
their attorney(s) of record:

You will please take notice that fourteen (14) days from the service of a copy hereof with attached questions, a
Deposition by Written Questions will be taken of Custodian of Records at their address listed below:

1 - T-P Rentals (Employment)
    1201 SE County Road



, Crane, TX 79731



2 - Premier Tank Truck Service (Employment)
    133 Private Road 9915



, Karnes City, TX 78118



3 - Union Environmental (Employment)
    3050 County Road 192

, Kenedy, TX 78119



4 - G&K Trucking, LLC (Employment)
    705 Fidelity Street

, Houston, TX 77029



5 - Deep Well Energy Services (Employment)
    1065 Texan Trail



Order No.: 155638 (Lauren Clewis)
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                                  Exhibit A
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                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

                                                            §
 Lee Roy Hernandez                                          §
                                                            §
                                                                 Civil Action No. 3:21-CV-0108-D
 vs.                                                        §
                                                            §
 Groendyke Transport, Inc.                                  §
                                                            §




                                               ATTORNEYS OF RECORD:

Javier Villarreal
Law Offices of Javier Villarreal, P.L.L.C.
2401 Wild Flower Drive
Suite A
Brownsville, TX 78526-2911
Phone: 956-544-4444 Fax: 956-550-0877
Attorney for Plaintiff(s): Lee Roy Hernandez


Leslie Lockhart
Law Office of Javier Villarreal, PLLC
2401 Wild Flower Drive, Suite A
Brownsville, TX 78526
Phone: 956-544-4444 Fax: 956-550-0877
Attorney for Plaintiff(s): Lee Roy Hernandez


Michael Shane O'Dell
Naman, Howell, Smith & Lee
1300 Summit Ave. Ste. 700
Fort Worth, TX 76102
Phone: 817-509-2025 Fax: 817-509-2060
Attorney for Defendant(s): Groendyke Transport, Inc.




Order No.: 155638

                                                    Exhibit A
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